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  FORM NO. 353-3 - CITATION                                                                                            CERT MAIL

  THE STATE OF TEXAS
                                                                                                                   CITATION
   To:
            SAFECO INSURANCE COMPANY OF AMERICA
            BY SERVING ITS REGISTERED AGENT CORPORATION SERVICE COMPANY
            211 EAST 7TH STREET SUITE 620                                                                          DC-15-08349
            AUSTIN TX 78701

  GREETINGS:                                                                                                           MARY JONES
  You have been sued. You may employ an attorney. If you or your attorney do not file a written                              vs.
  answer with the clerk who issued this citation by 10 o'clock a.m. of the Monday next following the .
                                                                                                            SAFECO INSURANCE COMPANY
  expiration of twenty days after you were served this citation and petition, a default judgment may be
                                                                                                                    OF AMERICA
  taken against you. Your answer should be addressed to the clerk of the 160th District Court at 600
  Commerce Street, Ste. 101, Dallas, Texas 75202.

  Said Plaintiff being MARY JONES                                                                                     ISSUED THIS
                                                                                                               24th day of September, 2015
  Filed in said Court 23rd day of July, 2015 against
                                                                                                                    FELICIA PITRE
  SAFECO INSURANCE COMPANY OF AMERICA                                                                             Clerk District Courts,
                                                                                                                  Dallas County, Texas
  For Suit, said suit being numbered DC-15-08349, the nature of which demand is as follows:
  Suit on CNTR CNSMR COM DEBT etc. as shown on said petition REQ FOR DISCLOSURE, REQ                           By: SHELIA BRADLEY, Deputy
  FOR PRODUCTION AND INTERROGATORIES, a copy of which accompanies this citation. If this
  citation is not served, it shall be returned unexecuted.

  WITNESS: FELICIA PITRE, Clerk of the District Courts of Dallas, County Texas.                                   Attorney for Plaintiff
  Given under my hand and the Seal of said Court at office this 24th day of September, 2015.                        TYLER M BLEAU
                                                                                                              26619 INTERSTATE 45 SOUTH
   .
  ATTEST: FELICIA PI'                                                          xas                            THE WOODLANDS TX 77380
                                                                                                                       281-842-8679

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                                                              EXHIBIT C-1
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                                                                           OFFICER' S RETURN
Case No. : DC-15-08349

Court No.160th District Court

Style: MARY JONES

vs.

SAFECO INSURANCE COMPANY OF AMERICA



Came to hand on the                       day of                            20             at               o'clock           M. Executed at

within the County of .                                  at                   o'clock            M. on the                     day of

20                    , by delivering to the within named



each, in person, a true copy of this Citation together with the accompanying copy of this pleading, having first endorsed on same date of delivery. The distance actually traveled by

me in serving such process was                miles and my fees are as follows: To certify which witness my hand.



                                For serving Citation          $

                                For mileage                   $                                 of                       County,

                                For Notary                     $                                 By                                             Deputy

                                                                   (Must be verified if served outside the State of Texas.)

Signed and sworn to by the said                                      before me this         day of                             20          ,

to certify which witness my hand and seal of office.




                                                                                                Notary Public                          County
                                                                                                                     FILED
       Case 3:15-cv-03494-D Document 1-3 Filed 10/27/15                       Page 3 of 22 PageID 9 DALLAS COUNTY
                                                                                                      7/23/2015 11:56:59 PM
                                                                                                             FELICIA PITRE
                                                                                                           DISTRICT CLERK
, ~~-~-~ ~~~ ~-~M~ l ~
                                          DC-15-08349                                                Gay Smith
                                 CAUSE NO.

     MARY JONES,                 §                                       IN THE DISTRICT COURT
        Plaintiff,               §
                                 §
                                 §
     V S.                        §
                  .              §                                               DALLAS COUNTY,
                                 §
                                 §
     SAFECO INSURANCE COMPANY OF §
     AMERICA,                    §
          Defendant.             §                                   160TH-H NDICIAL DISTRICT

                               PLAINTIFF'S ORIGINAL PETITION

    TO THE HONORABLE JUDGE OF SAID COURT:

             COMES NOW Mary Jones (hereinafter "Plaintiff'), and complains of Safeco Insurance

    Company of America (hereinafter "Defendant" or "Safeco"). In support of her claims and causes

    of action, Plaintiff would respectfully show the Court as follows:

                                          DISCOVERY LEVEL

             1.    Plaintiff intends for discovery to be conducted at Level 2, pursuant to Rule 190 of

    the Texas Rules of Civil Procedure.

                                     JURISDICTION AND VENUE

             2.    This Court has jurisdiction to hear Plaintiff's claims under Texas common law and

    Texas statutory law. Inarguably, the amount in controversy exceeds the minimum jurisdictional

    limits of this Court. Venue is also proper, as all or a substantial part of the events giving rise to

    this suit occurred within the city of Garland, in Dallas County, Texas.

                                                PARTIES

             3.    Plaintiff is an individual whose residence is located in Garland, Dallas County,

    Texas.




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        4.     Defendant Safeco is a foreign corporation, duly registered with the Texas

Department of Insurance to do business in Texas, which may be served with process by serving

this Original Petition and a copy of the citation on its Registered Agent, Corporation Service

Company, at its registered address, 211 East 7th Street, Suite 620, Austin, Texas 78701-3218.

                                         BACKGROUND
        5.     This matter revolves largely around a first party insurance dispute regarding the

extent of damages and amount of loss suffered to the Plaintiff's Property, which is located at 4020

Stone Haven Drive, Garland, Texas 75043-7290, (the "Property"). In addition to seeking

economic and penalty based damages from Defendant, Plaintiff also seeks compensation from

Defendant for damages caused by improperly investigating the extensive losses associated with

this case.

        6.     Plaintiff owns the Property.

        7.     Prior to the occurrence ' in question, Plaintiff purchased a residential insurance

policy from Defendant to cover the Property at issue in this case for a loss due to storm-related

events. Plaintiff's Property suffered storm-related damage. Through her residential policy,

OY6947246, Plaintiff was objectively insured for the subject loss by Defendant.

        8.     On or around October 6, 2014, the Property suffered incredible damage due to

storm related conditions.

        9.     In the aftermath, Plaintiff relied on Defendant to help begin the rebuilding process.

By and through her residential policy, Plaintiff was objectively insured for the subject losses in
                 ~

this matter.

        10.    Pursuant to her obligation as a policyholder, Plaintiff made complete payment of

all residential insurance premiums in a timely fashion. Moreover, her residential policy covered

Plaintiff during the time period in question.

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        11.    Despite Plaintiffls efforts, Defendant continually failed and refused to pay Plaintiff

in accordance with its promises under the Policy.

        12.    Moreover, Defendant has failed to make any reasonable attempt to settle Plaintiff s

claims in a fair manner, although its liability to the Plaintiff under the policy is without dispute.

        13.    In the months following, Plaintiff provided information to Defendant, as well as

provided opportunities for Defendant to inspect the Property. However, Defendant failed to

conduct a fair investigation into the damage to the Property. Moreover, Defendant failed to

properly inspect the Property and its related damages, failed to properly request information, failed

to properly investigate the claim, failed to timely evaluate the claim, failed to timely estimate the

claim, and failed to timely and properly report and make recommendations in regard to Plaintiff's
                                                                                          ~
claims.

       14.     Despite Defendant's improprieties, Plaintiff continued to provide information

regarding the losses and the related claim to Defendant. Further, Plaintiff made inquiries regarding

the status ofthe losses, and payments. Regardless, Defendant failed and refused to respond to the

inquiries, and failed to properly adjust the claim and the losses. As a result, to this date, Plaintiff

has not received proper payment for her claim, even though notification was provided.

       15.     Defendant has failed to explain the reasons for failing to offer adequate

compensation for the damage to the Property. Defendant has furthermore failed to offer Plaintiff

adequate compensation without any explanation why full payment was not being made. Defendant

did not communicate that any future settlements or payments would be forthcoming to pay the

entire losses covered under the policy.

       16.     Defendant has further failed to affirm or deny coverage within a reasonable time.

Plaintiff also did not receive timely indication of acceptance or rejection regarding the full and

entire claim in writing from Defendant in a timely manner.

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        17.    Defendant has, to date, refused to fully compensate Plaintiff under the terms of the

policy for which Plaintiff paid, even though it was Defendant that failed to conduct a reasonable

investigation. Ultimately, Defendant performed a result-oriented investigation of Plaintiff's claim

that resulted in an unfair, biased and inequitable evaluation of Plaintiff's losses.

        18.    Defendant has failed to meet its obligations under the Texas Insurance Code

regarding timely acknowledging Plaintiff's claim, beginning an investigation of Plaintiffls claim,

and requesting all information reasonably necessary to investigate Plaintiff's claims within the

time period mandated by statute:

        19.    As a result of the above issues, Plaintiff did not receive the coverage for which she

had originally contracted with Defendant. Unfortunately, Plaintiff has, therefore, been forced to

file this suit in-order to recover damages arising from the above conduct, as well as overall from

the unfair refusal to pay insurance benefits.

        20.    In addition, Defendant has failed to place adequate and proper coverage for Plaintiff

causing Plaintiff to suffer further damages. As indicated below, Plaintiff seeks relief under the

common law, the Deceptive Trade Practices-Consumer Protection Act and the Texas Insurance

Code.

                                  CONDITIONS PRECEDENT

        21.    All conditions precedent to recovery by Plaintiff has been met or has occurred.

                                                AGENCY

        22.    All acts by Defendant were undertaken and completed by its officers, agents,

servants, employees, and/or representatives. Such were either done with the full authorization or

ratification of Defendant and/or were completed in its normal and routine course and. scope of

employment with Defendant.

                               CLAIMS AGAINST DEFENDANT

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       23.     Plaintiff hereby incorporates by reference all facts and circumstances set forth

under the foregoing paragraphs.

                                                     A.   -
                                         NEGLIGENCE
       24.     Defendant had and owed a legal duty to Plaintiff to properly adjust the structural

and property damage and other insurance losses associated with the Property. Defendant breached

this duty in a number of ways, including but not limited to the following:

               a.     Defendant was to exercise due care in adjusting and paying policy proceeds
               regarding Plaintiff's Property loss;

               b.    Defendant had a duty to competently and completely handle and pay all
               damages associated with Plaintiff's Property; and/or

               C.     Defendant failed to properly complete all adjusting activities'associated
               with Plaintiff.

       25.     Defendant's acts, omissions, and/or breaches did great damage to Plaintiff, and

were a proximate cause of Plaintiff's damages.

                                           B.
                                   BREACH OF CONTRACT
       26.     Plaintiff hereby incorporates by reference all facts and circumstances set forth
                                                 3




under the foregoing paragraphs.

       27.     According to the policy that Plaintiff purchased, Defendant had the absolute duty

to investigate Plaintiff's damages, and to pay Plaintiffls policy benefits for the claims made due to

the extensive storm-related damages.

       28.     As a result of the storm-related event, Plaintiff suffered extreme external and

internal damages.

       29.     Despite objective evidence of such damages, Defendant has breached its

contractual obligations under the subject insiurance policy by failing to pay Plaintiff benefits


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relating to the cost to properly repair Plaintiff's Property, as well as for related losses. As a result

of this breach, Plaintiff has suffered actual and consequential damages.

                                        C.
                       VIOLATIONS OF TEXAS DECEPTIVE TRADE
                         PRACTICES ACT AND TIE-IN-STATUTES

       30.      Plaintiff hereby incorporates by reference all facts and circumstances set forth

under the foregoing paragraphs.

       31.     Defendant's collective actions constitute violations of the DTPA, including but not

limited to, Sections 17.46(b) (12), (14), (20), (24), and Section 17.50(a) (4) of the Texas Business

& Commerce Code. Defendant collectively engaged in false, misleading, or deceptive acts or

practices that included, but were not limited to:

               a.      Representing that an agreement confers or involves rights, remedies, or
               obligations which it does not have or involve, or which are prohibited by law;

               b.     Misrepresenting the authority of a salesman, representative, or agent to
               negotiate the final terms of a consumer transaction;

               C.     Failing to disclose information concerning goods or services which were
               known at the time of the transaction, and the failure to disclose such information
               was intended to induce the consumer into a transaction into which the consumer
               would not have entered had such information been disclosed;

               d.    Using or employing an act or practice in violation of the Texas Insurance
               Code;

               e.      Unreasonably delaying the investigation, adjustment and resolution of
               Plaintiff's claim;

               f.      Failure to properly investigate Plaintiff's claim; and/or

               g.      Hiring and relying upon a biased engineer and/or adjuster to obtain a
               favorable, result-oriented report to assist Defendant in low-balling and/or denying
               Plaintiff's damage claim.

       32.     As described in this Original Petition, Defendant represented to Plaintiff that her

insurance policy and Defendant's adjusting and investigative services had characteristics or



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benefits that it actually did not have, which gives Plaintiff the right to recover under Section 17.46

(b)(5) of the DTPA.

       33.     As described in this Original Petition, Defendant represented to Plaintiff that its

insurance policy and Defendant's adjusting and investigative services were of a particular

standard, quality, or grade when they were of another, which stands in violation of Section 17.46

(b)(7) of the DTPA.

       34.     By representing that Defendant would pay the entire amount needed by Plaintiff to

repair the damages caused by the storm-related event and then not doing so, Defendant has violated

Sections 17.46 (b)(5), (7) and (12) of the DTPA.

       35.     Defendant has breached an express warranty that the damage caused by the storm-

related event would be covered under the subject insurance policies. This breach entitles Plaintiff

to recover under Sections 17.46 (b) (12) and (20) and 17.50 (a) (2) of the DTPA.

       36.     Defendant's actions, as described herein, are unconscionable in that it took

advantage of Plaintiff's lack of knowledge, ability, and experience to a grossly unfair degree.

Defendant's unconscionable conduct gives Plaintiff the right to relief under Section 17.50(a)(3) of

the DTPA.

       37.     Defendant's conduct, acts, omissions, and failures, as described in this Original

Petition, are unfair practices in the business of insurance in violation of Section 17.50 (a) (4) of

the DTPA.

       38.     Plaintiff is a consumer, as defined under the DTPA, and relied upon these false,

misleading, or deceptive acts or practices,made by Defendant to her detriment. As a direct and

proximate result of Defendant's collective acts and conduct, Plaintiff has been damaged in an

amount in excess of the minimum jurisdictional limits of this Court, for which Plaintiff now sues.




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                 11~
A11 of the above-described acts, omissions, and failures of Defendant are a producing cause of

Plaintiffls damages that are described in this Original Petition.

        39.     Because Defendant's collective actions and conduct were committed knowingly

and intentionally, Plaintiff is entitled to recover, in addition to all damages described herein, mental

anguish damages and additional penalty damages, in an amount not to exceed three times such

actual damages, for Defendant having knowingly committed its conduct. Additionally, Plaintiff is

ultimately entitled to recover damages in an amount not to exceed three times the amount of inental

anguish and actual damages due to Defendant having intentionally committed such conduct.

        40.     As a result of Defendant's unconscionable, misleading, and deceptive actions and

conduct, Plaintiffhas been forced to retain the legal services ofthe undersigned attorneys to protect

and pursue these claims bn her behalf. Accordingly, Plaintiff also seeks to recover her costs and

reasonable and necessary attorneys' fees as permitted under Section 17.50(d) of the Texas

Business & Commerce Code, as well as any other such damages to which Plaintiff may show

herself to be justly entitled at law and in equity.

                                                   D.
                        VIOLATIONS OF TEXAS INSURANCE CODE

        41.     Plaintiff hereby incorporates by reference all facts and circumstances set forth

within the foregoing paragraphs.

        42.     Defendant's actions constitute violations of the Texas Insurance Code, including

but not limited to, Article 21.21 Sections 4(10) (a) (ii), (iv), and (viii) (codified as Section 541.060),

Article 21.21 Section 11(e) (codified as Section 541.061), and Article 21.55 Section 3(f) (codified

as Secti6n 542.058). Specifically, Defendant engaged in certain unfair or deceptive acts or

practices that include, but are not limited to the following:




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               a.     Failing to attempt, in good faith,.to effectuate a prompt, fair, and equitable
               settlement - of a claim with respect to which the insurer's liability has become
               reasonably clear;

               b.      Failing to provide promptly to a policyholder a reasonable explanation of
               the basis in the policy, in relation to the facts or applicable law, for the insurer's
               denial of a claim or for the offer of a compromise settlement of a claim;

               C.      Refusing to pay a claim without conducting a reasonable investigation with
               respect to the claim;

               d.     Forcing Plaintiff to file suit to recover amounts due under the policy by
               refusing to pay all benefits due;

               e.     Misrepresenting an insurance policy by failing to disclose any matter
               required by law to be disclosed, including a failure to make such disclosure in
               accordance with another provision of this code; and/or

               f.     Failing to pay a valid claim after receiving all reasonably requested and
               required items from the claimant.

        43.    Plaintiff is the insured or beneficiary of a claim which was apparently valid as a

result of thd unauthorized acts of Defendant, and Plaintiff relied upon these unfair or deceptive

acts or practices by. Defendant to her detriment. Accordingly, Defendant became the insurer of

Plaintiff.

        44.    As a direct and proximate result of Defendant's acts and conduct, Plaintiff has been

damaged in an amount in excess of the minimum jurisdictional limits of this Court, for which she

now sues.

        45.    Since a violation of the Texas Insurance Code is a direct violation of the DTPA,

and because Defendant's actions and conduct were committed knowingly and intentionally,

Plaintiff is entitled to recover, in addition to all damages described herein, mental anguish damages

and additional damages in an amount not to exceed three times the amount of actual damages, for

Defendant having knowingly cominitted such conduct. Additionally, Plaintiff is entitled to recover




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damages in an amount not to exceed three times the amount of inental and actual damages for

Defendant having intentionally committed such conduct.

          46.   As a result of Defendant's unfair and deceptive actions and conduct, Plaintiff has

been forced to retain the legal services of the undersigned attorneys to protect and pursue these

claims on her behal£ Accordingly, Plaintiff also seeks to recover her costs and reasonable and

necessary attorneys' fees as permitted under Section 17.50(d) of the Texas Business & Commerce

Code or Article 21.21 Section 16(b) (1) (codified as Section 541.152) of the Texas Insurance Code

and any other such damages to which Plaintiff may show herself justly entitled by law and in

equity.

                                        E.
                         BREACH OF THE COMMON-LAW DUTY
                          OF GOOD FAITH AND FAIR DEALING

          47.   Plaintiff hereby incorporates by reference all facts and circumstances in the

foregoing paragraphs.

          48.   By its acts, omissions, failures and conduct, Defendant has breached its common

law duty of good faith and fair dealing by denying Plaintiff's claims or inadequately adjusting and

making an offer on Plaintiff's claims without any reasonable basis, and by failing to conduct a

reasonable investigation to determine whether there was a reasonable basis for this denial.

          49.   Defendant has also breached this duty by unreasonably delaying payment of

Plaintiff's entire claims and by failing to settle Plaintiff's claims, as Defendant knew or should

have known that it was reasonably clear that Plaintiffls storm-related claims were covered. These

acts, omissions, failures, and conduct by Defendant is a proximate cause of Plaintiff's damages.

                                          F.
                              BREACH OF FIDUCIARY DUTY




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       50.     Plaintiff hereby incorporates by reference all facts and circumstances in the

foregoing paragraphs.

       51.     Defendant had a fiduciary relationship, or in the alternative, a relationship of trust

and confidence with Plaintiff. As a result, Defendant owed a duty of good faith and fair dealing

to Plaintiff. Defendant breached that fiduciary in that:

               a.       The transaction was not fair and equitable to Plaintiff;

               b.     Defendant did not make reasonable use of the confidence that Plaintiff
               placed upon it;

               C.     Defendant did not act in the utmost good faith and did not exercise the most
               scrupulous honesty toward Plaintiff;

               d.     Defendant did not place the interests of Plaintiff before its own, and
               Defendant used the advantage of its position to gain a benefit for itself, at Plaintiff s
               expense;

               e.      Defendant placed itself in a position where its self-interest might conflict
               with its obligations as a fiduciary; and/or

               f.      Defendant did not fully and fairly disclose all important information to
               Plaintiff concerning the sale of the policy.

       52. . Defendant is liable for Plaintiff's damages for breach of fiduciary duty, as such

damages were objectively caused by Defendant's conduct.

                                          G.
                              UNFAIR INSURANCE PRACTICES

       53.     Plaintiff hereby incorporates by reference all facts and circumstances in the,

foregoing paragraphs.

       54.     Plaintiff has satisfied all conditions precedent to bringing these causes of action.

By its acts, omissions, failures, and conduct, Defendant has engaged in unfair and deceptive acts

or practices in the business of insurance in violation of Chapter 541 of the Texas Insurance Code.




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        55.    Such violations include, without limitation, all the conduct described in this

Original Petition, plus Defendant's failure to properly investigate Plaintiff's claim. Plaintiff also

includes Defendant's unreasonable delays in the investigation, adjustment, and resolution of

Plaintiff's claims and Defendant's failure to pay for the proper repair of Plaintiff's Property, as to

which Defendant's liability had become reasonably clear.

        56.    Additional violations include Defendant's hiring of and reliance upon biased

adjusters and/or engineers to obtain favorable, result-oriented reports to assist it in low-balling and

denying Plaintiff's storm-related damage and related claims. Plaintiff further includes Defendant's

failure to look for coverage and give Plaintiff the benefit of the doubt, as well as Defendant's

misrepresentations of coverage under the subject insurance policy. Specifically, Defendant is also

guilty of the following unfair insurance practices:

               a.     Engaging in false, misleading, and deceptive acts or practices in the
               business of insurance in this case;

               b.      Engaging in unfair claims settlement practices;

               C.     Misrepresenting to Plaintiff pertinent facts or policy provisions relating to
               the coverage at issue;

               d.     Not attempting in good faith to effectuate a prompt, fair, and equitable
               settlement of Plaintiff's claims as to which Defendant's liability had become
               reasonably clear;

               e.      Failing to affirm or deny coverage of Plaintiff's claims within a reasonable
               time and failing within a reasonable time to submit a reservation of rights letter to
               Plaintiff;

               f.      Refusing to pay Plaintiff's claims without conducting a reasonable
               investigation with respect to the claims; and/or

               g.      Failing to provide promptly to a policyholder a reasonable explanation of
               the basis in the insurance policy, in, relation to the facts or applicable law, for the
               denial of a claim or for the offer of a compromise settlement.




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       56.     Defendant has also breached the Texas Insurance Code when it breached its duty

of good faith and fair dealing. Defendant's conduct as described herein has resulted in Plaintiffs

damages that are described in this Original Petition.

                                            H.
                                    MISREPRESENTATION

       57.     Plaintiff hereby incorporates by reference all facts and circumstances in the

foregoing paragraphs.

       58.     Defendant is liable to Plaintiff under the theories of intentional misrepresentation,

or in the alternative, negligent misrepresentation. Essentially, Defendant did not inform Plaintiff

of certain exclusions in the policy. Misrepresentations were made with the intention that they

should be relied upon and acted upon by Plaintiff who relied on the misrepresentations to her

detriment. As a result, Plaintiff has suffered damages, including but not limited to loss of the

Property, loss of use of the Property, mental anguish and attorney's fees. Defendant is liable for

these actual consequential and penalty-based damages.

                                 I.
          COMMON-LAW FRAUD BY NEGLIGENT MISREPRESENTATION

       59.     Plaintiff hereby incorporates by reference all facts and circumstances in the

foregoing paragraphs.

       60.     Plaintiffwould show that.Defendant perpetrated fraud by misrepresentation (either

intentionally or negligently) by falsely representing a fact of materiality to Plaintiff, who relied

upon such representations that ultimately resulted in her injuries and damages. Alternatively,

Defendant fraudulently concealed material facts from Plaintiff, the result of which caused damage

to Plaintiff as a result of the storm-related damages.

       61.     Specifically, and as a proximate cause and result of this fraudulent concealment,

fraud and negligent misrepresentation, all of which was perpetrated without the knowledge or

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consent of Plaintiff, Plaintiff has sustained damages far in excess of the minimum jurisdictional

limits of this Court.

        62.     By reason of Plaintiff's reliance on Defendant fraudulent representations, negligent

misrepresentations and/or fraudulent concealment of material facts as described in this complaint,

Plaintiff has suffered actual damages for which he now sues.

        63.     Plaintiff further alleges that because Defendant knew that the misrepresentations

made to Plaintiff were false at the time they were made, such misrepresentations are fraudulent,

negligent or grossly negligent on the part of Defendant, and constitute conduct for which the law

allows the imposition of exemplary damages.

        64.     In this regard, Plaintiff will show that she has incurred significant litigation

expenses, including attorneys' fees, in the investigation and prosecution of this action.
                                                        8




        65.     Accordingly, Plaintiff requests that penalty damages be awarded against Defendant

in a sum in excess of the minimum jurisdictional limits of this Court.

                                  WAIVER AND ESTOPPEL

        66.     Plaintiff hereby incorporates by reference all facts and circumstances set forth

under the foregoing paragraphs.

        67.     Defendant has waived and is estopped from asserting any defenses, conditions,

exclusions, or exceptions to coverage not contained in any Reservation of_Rights or denial letters

to Plaintiff.

                                           DAMAGES .

        68.     Defendant's acts have been the producing and/or proximate cause of damage to

Plaintiff, and Plaintiff seeks an amount in excess ofthe minimum jurisdictional limits of this Court.




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       69.     More specifically, Plaintiff seeks monetary relief of over $100,000, but not more

than $200,000 including damages of any kind, penalties, costs, expenses, pre judgment interest,

and attorney fees.

                             ADDITIONAL DAMAGES & PENALTIES

       70.     Defendant's conduc't was committed knowingly and intentionally. Accordingly,

Defendant is liable for additional damages under the DTPA, section 17.50(b) (1), as well as all

operative provisions of the Texas Insurance Code. Plaintiff is, thus, clearly entitled to the 18%

damages allowed by the Texas Insurance Code.

                                       ATTORNEY FEES

        71.    In addition, Plaintiff is entitled to all reasonable and necessary attorneys' fees

pursuant to the Texas Insurance Code, DTPA, and sections 38.001-.005 of the Civil Practice and

Remedies Code.

                                           JURY DEMAND

        72.    Plaintiff demands a jury trial and tenders the appropriate fee with this Original

Petition.

                                REQUEST FOR DISCLOSURE

       73.     Pursuant to the Texas Rules of Civil Procedure, Plaintiff requests that Defendant

disclose all information and/or material as required by Rule 194.2, paragraphs (a) through (1), and

to do so within 50 days of this request.

                                REQUEST FOR PRODUCTION

        74..   Pursuant to the Texas Rules of Civil Procedure, Plaintiff propounds the following

Requests for Production.

               a.      Please produce Defendant complete claim files from the home, regional,
               local offices, and third party adjusters/adjusting firms regarding the claims that are
               the subject ofthis matter, including copies ofthe file jackets, "field" files and notes,


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               and drafts of documents contained in the file for the premises relating to or arising
               out of Plaintiff's underlying claim.

               b.     Please produce the underwriting files referring or relating in any way to the
               policy at issue in this action, including the file folders in which the underwriting
               documents are kept arid drafts of all documents in the file.

               C.      Please produce certified copy of the insurance policy pertaining to the
               claims involved in this suit.

               d.      Please produce the electronic diary, including the electronic and paper notes
               made by Defendant claims personnel, contractors, and third party
               adjusters/adjusting firms relating to the Plaintiff's claims.

               e.     Please produce all emails and other forms of communication by and
               between all parties in this matter relating to the underlying event, claims or the
               Property, which is the subject of this suit.

               f.     Please produce the adjusting reports, estimates and appraisals prepared
               concerning Plaintiff's underlying claim.

               g.      Please produce the field notes, measurements and file maintained by the
               adjuster(s) and engineers who physically inspected the subject Property.

               h.      Please produce the emails, instant messages and internal correspondence
               pertaining to Plaintiff's underlying claim(s).

               i.      Please produce the videotapes, photographs and recordings of Plaintiff or
               Plaintiff's home, regardless of whether Defendant intends to offer these items into
               evidence at trial.

                                      INTERROGATORIES

       75.     Pursuant to the Texas Rules of Civil Procedure, Plaintiff propounds the following

lnterrogatories.

               a.       Please identify any person Defendant expects to call to testify at the time of
               trial.

               b.     Please identify the persons involved in the investigation and handling of
               Plaintiff's claims for insurance benefits arising from damage relating to the
               underlying event, claims or the Property, which is the subject of this suit, and
               include a brief description of the involvement of each person identified, their
               employer, and the date(s) of such involvement.




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             C.      If Defendant or Defendant's representatives performed any investigative
             steps in addition to what is reflected in the claims file, please generally describe
             those investigative steps conducted by Defendant or any of Defendant's
             representatives with respect to the facts surrounding the circumstances of the
             subject loss. Identify the persons involved in each step.

             d.      Please identify by date, author, and result the estimates, appraisals,
             engineering, mold and other reports generated as a result of Defendant's
             investigation.

             e.     Please state the following concerning notice of claims and timing of

             payment:

                     i.     The date and manner in which Defendant received notice of the
                            claim;
                     ii'.   The date and manner in which Defendant acknowledged
                            receipt of the claim;
                     iii.   The date and manner in which Defendant commenced
                            investigation of the claim;
                     iv.    The date and manner in which Defendant requested from the
                            claimant all items, statements, and forms that Defendant
                            reasonably believed, at the time, would be required from the
                            claimant; and
                    V.      The date and manner in which Defendant notified the claimant
                            in writing of the acceptance or rejection of the claim.

             f.    Please identify by date, amount and reason, the insurance proceed payments
             made by Defendant, or on Defendant's behalf, to the Plaintiff.

             g.      Have Plaintiff's claims for insurance benefits been rejected or denied in full
             or in part? If so, state the reasons for rejecting/denying the claim.

             h.     When was the date Defendant anticipated litigation?

             i.     Have any documents (including those maintained electronically) relating to
             the investigation or handling of Plaintiffls claims for insurance benefits been
             destroyed or disposed of? If so, please identify what, when and why the document
             was destroyed, and describe Defendant's document retention policy.

             j.      Does Defendant contend that the insured premises was damaged by storm-
             related events and/or any excluded peril? If so, state the general factual basis for
             this contention.

             k.      Does Defendant contend that any act or omission by the Plaintiff voided,
             nullified, waived or breached the insurance policy in any way? If so, state the
             general factual basis for this contention.

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               I.       Does Defendant contend that the Plaintiff failed to satisfy•any condition
               precedent or covenant of the policy in any way? If so, state the general factual basis
               for this contention.

               M.     How is the performance of the adjuster(s) involved in handling Plaintiff's
               claims evaluated? State the following:

                       i.      what performance measures are used; and
                       ii.     describe Defendant's bonus or incentive plan for adjusters.


                                          CONCLUSION

       76.     Plaintiff prays that judgment be entered against Safeco Insurance Company of

America, and that Plaintiff be awarded all of her actual damages, consequential damages,

prejudgment interest, additional statutory damages, post judgment interest, reasonable and

necessary attorney fees, court costs and for all such other relief, general or specific, in law or in

equity, whether pled or un-pled within this Original Petition.

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        WHEREFORE, PREMISES CONSIDERED, Plaintiff prays she be awarded all such relief

to which she is due as a result of the acts of Safeco Insurance Company of America, and for all

such other relief to which Plaintiff may be justly entitled.



                                               Respectfully submitted,

                                               THE VOSs LAW FIRM, P.C.

                                               /s/ Tyler Bleau
                                               Bill L. Voss




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